            Case 1:22-cr-00109-LJV Document 125 Filed 01/12/24 Page 1 of 5




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                v.                                                22-CR-109-LJV

PAYTON GENDRON,

                             Defendant.



                NOTICE OF INTENT TO SEEK THE DEATH PENALTY


       The United States of America, pursuant to 18 U.S.C. § 3593(a), notifies the Court and

Defendant PAYTON GENDRON that the United States believes the circumstances in

Counts 11-20 of the Indictment, Dkt. 6, are such that, in the event of a conviction, a sentence

of death is justified under 18 U.S.C. §§ 3591-98, and that the United States will seek the

sentence of death for these offenses: Use and Discharge of a Firearm to Commit Murder

During and in Relation to a Crime of Violence, 18 U.S.C. § 924(c) and (j).



       The United States proposes to prove the following factors as justifying a sentence of

death with regard to Counts 11-20 (unless otherwise specified):

(A)    PAYTON GENDRON was 18 years of age or older at the time of the offense.



(B)    Statutory Threshold Factors Enumerated Under 18 U.S.C. §§ 3591(a)(2)(A)-(D):

       1.       Intentional Killing.   PAYTON GENDRON intentionally killed Roberta

Drury, Pearl Young, Heyward Patterson, Ruth Whitfield, Celestine Chaney, Aaron W.
            Case 1:22-cr-00109-LJV Document 125 Filed 01/12/24 Page 2 of 5




Salter, Jr., Andre Mackniel, Margus Morrison, Katherine Massey, and Geraldine Talley. 18

U.S.C. § 3591(a)(2)(A).



       2.        Intentional Infliction of Serious Bodily Injury.      PAYTON GENDRON

intentionally inflicted serious bodily injury that resulted in the deaths of Roberta Drury, Pearl

Young, Heyward Patterson, Ruth Whitfield, Celestine Chaney, Aaron W. Salter, Jr., Andre

Mackniel, Margus Morrison, Katherine Massey, and Geraldine Talley.                  18 U.S.C. §

3591(a)(2)(B).



       3.        Intentional Participation in an Act Resulting in Death.              PAYTON

GENDRON intentionally participated in an act, contemplating that the life of a person would

be taken and intending that lethal force would be used in connection with a person, other than

one of the participants in the offense, and Roberta Drury, Pearl Young, Heyward Patterson,

Ruth Whitfield, Celestine Chaney, Aaron W. Salter, Jr., Andre Mackniel, Margus Morrison,

Katherine Massey, and Geraldine Talley died as a direct result of the act. 18 U.S.C. §

3591(a)(2)(C).



       4.        Intentional Engagement in an Act of Violence, Knowing That the Act

Created a Grave Risk of Death to a Person. PAYTON GENDRON intentionally and

specifically engaged in an act of violence, knowing that the act created a grave risk of death

to a person, other than one of the participants in the offense, such that the participation in the

act constituted a reckless disregard for human life, and Roberta Drury, Pearl Young, Heyward

Patterson, Ruth Whitfield, Celestine Chaney, Aaron W. Salter, Jr., Andre Mackniel, Margus



                                                2
            Case 1:22-cr-00109-LJV Document 125 Filed 01/12/24 Page 3 of 5




Morrison, Katherine Massey, and Geraldine Talley died as a direct result of the act. 18 U.S.C.

§ 3591(a)(2)(D).



(C)    Statutory Aggravating Factors Enumerated Under 18 U.S.C. § 3592(c):

       1.       Grave Risk of Death to Additional Persons. PAYTON GENDRON, in the

commission of the offense, and in escaping apprehension for the violation of the offense,

knowingly created a grave risk of death to one or more persons in addition to the victim of

the offense. 18 U.S.C. § 3592(c)(5).



       2.       Substantial Planning and Premeditation. PAYTON GENDRON committed

the offense after substantial planning and premeditation to cause the death of a person. 18

U.S.C. § 3592(c)(9).



       3.       Vulnerable Victim. PAYTON GENDRON committed the offenses charged

in Counts 12, 13, 14, 15, and 19 against a victim who was particularly vulnerable due to old

age and infirmity. 18 U.S.C. § 3592(c)(11).



       4.       Multiple Killings and Attempted Killings.           PAYTON GENDRON

intentionally killed and attempted to kill more than one person in a single criminal episode.

18 U.S.C. § 3592(c)(16).




                                              3
               Case 1:22-cr-00109-LJV Document 125 Filed 01/12/24 Page 4 of 5




(D)       Non-Statutory Aggravating Factors Authorized by 18 U.S.C. §§ 3592(c) and
          3593(a)(2):

          1.       Victim Impact. PAYTON GENDRON caused injury, harm, and loss to the

families and friends of Roberta Drury, Pearl Young, Heyward Patterson, Ruth Whitfield,

Celestine Chaney, Aaron W. Salter, Jr., Andre Mackniel, Margus Morrison, Katherine

Massey, and Geraldine Talley. The injury, harm, and loss caused by PAYTON GENDRON

with respect to each victim is evidenced by the victim’s personal characteristics and by the

impact of the victim’s death upon his or her family and friends.



          2.       Injury To Surviving Victims. PAYTON GENDRON caused serious physical

and emotional injury, and severe psychological impact to individuals who survived the

offense and are listed in Counts 21 through 26 of the Indictment (Z.G., C.B., and J.W.).



          3.       Racially-Motivated Killings. PAYTON GENDRON expressed bias, hatred,

and contempt toward Black persons and his animus toward Black persons played a role in the

killings of Roberta Drury, Pearl Young, Heyward Patterson, Ruth Whitfield, Celestine

Chaney, Aaron W. Salter, Jr., Andre Mackniel, Margus Morrison, Katherine Massey, and

Geraldine Talley.



          4.       Attempt To Incite Violence. PAYTON GENDRON, in preparation for and

in committing the acts of violence charged in this case, attempted to incite violent action by

others.




                                              4
            Case 1:22-cr-00109-LJV Document 125 Filed 01/12/24 Page 5 of 5




       5.       Selection of Site. PAYTON GENDRON selected the Tops Friendly Market,

located at 1275 Jefferson Avenue in Buffalo, New York, in order to maximize the number of

Black victims of the offense.


DATED:          Buffalo, New York January 12, 2024

                                                Respectfully submitted,

                                                TRINI E. ROSS
                                                UNITED STATES ATTORNEY
                                                WESTERN DISTRICT OF NEW YORK

                                          BY:   s/ JOSEPH M. TRIPI
                                                Assistant United States Attorney
                                                United States Attorney’s Office
                                                Western District of New York
                                                138 Delaware Avenue
                                                Buffalo, New York 14202
                                                (716) 843-5839
                                                Joseph.Tripi@usdoj.gov

                                          BY:   s/ BRETT A. HARVEY
                                                Assistant United States Attorney
                                                United States Attorney’s Office
                                                Western District of New York
                                                100 State Street
                                                Rochester, New York 14614
                                                (585) 399-3949
                                                Brett.Harvey@usdoj.gov

                                                KRISTEN M. CLARKE
                                                ASSISTANT ATTORNEY GENERAL
                                                CIVIL RIGHTS DIVISION

                                          BY:   s/ LAURA B. GILSON
                                                Trial Attorney
                                                Civil Rights Division
                                                U.S. Department of Justice
                                                150 M Street NE
                                                Washington, DC 20530
                                                202-598-1141
                                                Laura.Gilson2@usdoj.gov



                                            5
